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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

MARK JARECKE                            :
    Plaintiff,                          :      CIVIL ACTION NO.
v.                                      :      3:10-cv-00552 (JCH)
                                        :
BRIAN MURPHY, ET AL                     :
     Defendants.                        :      DECEMBER 15, 2010


                               ORDER TO SHOW CAUSE

       Plaintiff is hereby ORDERED TO SHOW CAUSE by DECEMBER 29, 2010, why

this case should not be dismissed against the remaining defendants for failure to

prosecute. Failure to respond, in writing, by DECEMBER 29, 2010, will result in the

dismissal of this action.

SO ORDERED.

       Dated at Bridgeport, Connecticut this 15th day of December, 2010.



                                   /s/ Janet C. Hall
                                  Janet C. Hall
                                  United States District Judge
